Case
 Case1:19-cv-09236-KPF
       1:19-cv-09236-KPF Document
                         Document552-11
                                  516-11 Filed
                                         Filed01/12/24
                                               07/08/24 Page
                                                         Page11
                                                              ofof
                                                                 33




               Exhibit 11
      Case
       Case1:19-cv-09236-KPF
             1:19-cv-09236-KPF Document
                               Document552-11
                                        516-11 Filed
                                               Filed01/12/24
                                                     07/08/24 Page
                                                               Page22
                                                                    ofof
                                                                       33




September 7, 2023


BY EMAIL

Philippe Z. Selendy
SELENDY GAY ELSBERG PLLC
1290 Sixth Avenue
New York, NY 10104
pselendy@selendygay.com

Todd M. Schneider
SCHNEIDER WALLACE
COTTRELL KONECKY LLP
2000 Powell Street
Emeryville, CA 94608
tschneider@schneiderwallace.com


Re:       In re Tether and Bitfinex Crypto Asset Litig.,
          No. 19 Civ. 9236 (KPF) (S.D.N.Y.)


Dear Philippe:

On behalf of Defendants iFinex Inc., BFXNA Inc., BFXWW Inc., Tether Holdings
Limited, Tether Limited, DigFinex Inc., Tether Operations Limited, Tether
International Limited, Ludovicus Jan van der Velde and Giancarlo Devasini
(collectively, the “B/T Defendants”), we are producing today documents bearing
Bates numbers BITFINEX_TETHER_1071653 - BITFINEX_TETHER_1071656.
These documents will be produced via secure file transfer, for which you will receive
the necessary access notification.

These documents are being produced in response to Plaintiffs’ Requests for
Production directed to the B/T Defendants, and pursuant to the B/T Defendants’
Responses and Objections thereto. These documents are also being produced
pursuant to the Stipulation and Order for the Production and Exchange of
Confidential Materials, dated October 27, 2021 (the “Protective Order”) and the
November 22, 2021 and April 20, 2022 Orders governing the confidentiality of
documents involving the Anonymous Trader.
    Case
     Case1:19-cv-09236-KPF
           1:19-cv-09236-KPF Document
                             Document552-11
                                      516-11 Filed
                                             Filed01/12/24
                                                   07/08/24 Page
                                                             Page33
                                                                  ofof
                                                                     33


Philippe Selendy                               2                           September 7, 2023



The documents being produced contain confidential business information and
personally identifiable information (“PII”). Fed. R. Civ. P. 5.2 requires that certain
categories of information be redacted before a document is publicly filed. Judge
Failla’s Individual Rules of Practice reinforce and expand this obligation, and also
refer litigants to the E-Government Act of 2002 and the Southern District’s ECF
Privacy Policy. Moreover, Section 6 of the Protective Order provides for procedures
to be followed in the event that a party seeks to file any document that quotes or
divulges Confidential Material or Attorneys’ Eyes Only Material, or seeks to disclose
such material during a hearing or trial.

In producing these documents, the B/T Defendants have not knowingly included any
documents or information covered by the attorney-client privilege, the work product
doctrine, or any other applicable privilege or protection. Any inadvertent production
of privileged or work product materials should not be considered a waiver of the
relevant protection. Should you identify documents that appear to be privileged or
otherwise inadvertently produced during your review, please notify us immediately
and cease review of such documents.

If you have any questions regarding the information provided in this letter or the
referenced materials, please contact me at 212-909-6821 or nborn@debevoise.com.


Best regards,

/s/ Natascha Born
